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   6   Attorneys for Defendants Ditto Ltd.
       d/b/a Ditto Music and Lee James Parsons
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   8
                                UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
                                     WESTERN DIVISION
  11
  12   MILES PARKS MCCOLLUM                      Case No. 2:22-cv-00587-MWF-MAR
       professionally known as LIL
  13   YACHTY;                                   Before the Hon. Michael W. Fitzgerald,
                                                 U.S. District Judge
  14               Plaintiff,
  15         vs.                                 NOTICE OF SETTLEMENT
  16   OPULOUS, a foreign entity, and
       DITTO LTD, d/b/a DITTO MUSIC, a           Action filed:   March 8, 2022
  17   foreign entity, and LEE JAMES             Trial:          October 17, 2023
       PARSONS, a citizen of a foreign           FPTC:           September 25, 2023
  18   country,
  19               Defendants.
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   1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD,
   2   PLEASE TAKE NOTICE THAT:
   3         Pursuant to Local Rule 16-15.7, Defendants Ditto Ltd. d/b/a Ditto Music and
   4   Lee James Parsons submit this Notice of Settlement to notify the Court that the
   5   above-entitled matter has been settled. The parties request 45 days to confirm the
   6   settlement in writing and file a dismissal of the action.
   7
       Dated: April 11, 2023               Respectfully submitted,
   8
                                           GRODSKY, OLECKI & PURITSKY LLP
   9                                        Allen B. Grodsky
                                            Tim B. Henderson
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  11                                       By:    /s/ Tim B. Henderson
                                                       Tim B. Henderson
  12
                                           Attorneys for Defendants Ditto Ltd. d/b/a Ditto
  13                                       Music and Lee James Parsons
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